                                                Case Number:21-003609-CI
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                      IN THE CIRCUIT COURT OF THE SIXTH JUDICIAL CIRCUIT
                     OF THE STATE OF FLORIDA, IN AND FOR PINELLAS COUNTY
                                        CIVIL DIVISION


         KIMBERLY MONROE-PIERCE

                Plaintiff.
                                                                   CASE NO.:
         vs.
                                                                   DIVISION:
         DOLLAR TREE STORES, INC.

                Defendant.
                                                               /

                               COMPLAINT AND DEMAND FOR JURY TRIAL

                Plaintiff Kimberly Monroe-Pierce (“Ms. Monroe-Pierce”) sues Dollar Tree Stores, Inc.

         (“DOLLAR TREE”) and states:

                1.      This is an action for damages exceeding Thirty Thousand dollars ($30,000.00) and

         is within this Court’s subject matter jurisdiction.

                2.      Ms. Monroe-Pierce is a resident of Pinellas County, Florida.

                3.      DOLLAR TREE is a foreign for profit corporation with its principal address

         located at 500 Volvo Parkway Chesapeake, VA 23320.

                4.      DOLLAR TREE owns real property and conducts business in Pinellas County,

         Florida.

                5.      Venue is proper in this Court because the premises where the injury occurred is

         located in Pinellas County, Florida.

                6.      On September 5, 2020, DOLLAR TREE operated at retail store located at 1900

         34th Street N., St. Petersburg, Florida 33713 (the “Premises).



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       7.      Ms. Monroe-Pierce was an invitee at the Premises on September 5, 2020, when

she was injured on the Premises.

       8.      Upon entering the Premises, Ms. Monroe-Pierce went to get a shopping cart.

       9.      On her way to get the shopping cart, she slipped in a puddle of water that was on

the floor in front of several cases of water that were stacked against the wall.

       10.     She fell onto the concrete floor injuring her neck, back, right shoulder and right

knee among other things.

       11.     An employee of Dollar Tree called an ambulance.

       12.     Ms. Monroe-Pierce was evaluated by Pinellas County EMS at the store and then

transported her to the emergency department at St. Anthony’s Hospital, in St. Petersburg, Florida.

       13.     DOLLAR TREE is responsible for maintenance of the Premises.

       14.     DOLLAR TREE had a duty to maintain the Premises in a reasonably safe

condition, to correct dangerous conditions known to DOLLAR TREE or which should have been

known to DOLLAR TREE with the use of reasonable care and diligence, and to warn of

dangerous conditions about which DOLLAR TREE knew or should have known.

       15.     The water on the floor of the Premises constituted an unreasonably safe condition.

       16.     DOLLAR TREE knew or should have known of the puddle of water on the floor

before Ms. Monroe-Pierce fell.

       17.      DOLLAR TREE failed to reasonably maintain the Premises in a reasonably safe

condition.

       18.     Alternatively, DOLLAR TREE should have known that there was an

unreasonably unsafe condition because:



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                 a.      The condition of the floor existed for long enough that DOLLAR TREE

                 should have discovered it;

                 b.      DOLLAR TREE had a reasonable opportunity to inspect and discover

                 the condition of the floor; and

                 c.      DOLLAR TREE should have anticipated the condition and danger and

                 should have been aware that it could cause injury.

          19.    DOLLAR TREE breached its duties to Ms. Monroe-Pierce by failing to maintain

the Premises in a reasonably safe condition and/or failing to warn Ms. Monroe-Pierce of the water

on the floor.

          20.    The breaches by DOLLAR TREE of its duties to Ms. Monroe-Pierce were the

legal and proximate causes of Ms. Monroe-Pierce’s injuries.

          21.    As a direct and proximate result of DOLLAR TREE’s breach of its duties, Ms.

Monroe-Pierce suffered bodily injury and resulting pain and suffering, disability, disfigurement,

mental anguish, loss of the capacity for the enjoyment of life, loss of an important bodily function,

physical impairment, inconvenience, expense of hospitalization, medical and nursing care and

treatment, aggravation of a previously existing condition and other damages. These damages are

either permanent or continuing and Ms. Monroe-Pierce will suffer losses in the future.

          WHEREFORE, Ms. Monroe-Pierce demands judgment against DOLLAR TREE for her

damages, plus appropriate interest, costs, and such other relief as this Court deems just and

proper.

                                   DEMAND FOR JURY TRIAL

          Ms. Monroe-Pierce demands a trial by jury of all issues so triable.




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                                          Respectfully submitted,

                                          McBreen & Nowak, P.A.


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